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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF SOUTH CAROLINA
                                  (SPARTANBURG DIVISION)

 GETTYS BRYANT MILLWOOD, et al.,
                                                                 No. 7:19-cv-01445-DCC
                     Plaintiffs,
                                                              JOINT MOTION TO AMEND
                          v.                                    SCHEDULING ORDER
 STATE FARM LIFE INSURANCE COMPANY,

                     Defendant/Respondent.


    Pursuant to Rule 6(b) of the Federal Rules of Civil Procedure and Rule 6.01 of the Local Rules

of Civil Procedure, the parties jointly move the Court for entry of an order modifying the current

case schedule set forth in the Court’s Third Amended Conference and Scheduling Order (Dkt. 66).

In support of this motion, the parties state as follows:

        1.      Plaintiffs filed suit on May 17, 2019. (Dkt. 1). On July 22, 2019, the Court issued

the initial Conference and Scheduling Order (Dkt. 18), setting deadlines for discovery,

identification of expert witnesses, and motions. On September 25, 2019, the Court amended its

scheduling order and adjourned the deadlines set in the Conference and Scheduling Order (Dkt.

No. 31).

        2.      On March 12, 2020, the Court issued a Second Amended Conference and

Scheduling Order (Dkt. 58). The Court issued that order just days before the widespread stay-at-

home initiatives resulting from the COVID-19 pandemic.

        3.      In the face of unprecedented challenges, the parties worked diligently toward

moving forward on discovery and resolving myriad issues without seeking court intervention. In

August 2020, State Farm made a significant production of documents responsive to Plaintiffs’

requests. This production contained over 10,000 documents. On January 5, 2021, State Farm made



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another significant production of documents responsive to Plaintiff’s requests. This production

contained nearly 35,000 documents (34,977).

        4.      Despite best efforts, the deadlines set in the Court’s Second Amended Conference

and Scheduling Order proved challenging, and the Court issued a Third Amended Conference

Scheduling Order (Dkt. 66) on February 25, 2021.

        5.      Since that date, the Parties have continued to work diligently to complete written

discovery and document productions, including serving supplemental discovery responses,

producing additional documents, and meeting and conferring on several issues, some of which

have already been resolved without the need for the Court’s intervention. By way of example,

with respect to written discovery and document productions and since the Court last amended the

scheduling order: (1) the Parties have held multiple meet and confers regarding Plaintiff’s Third

Requests for Production and State Farm has served its written response to these requests; (2)

Plaintiffs have served supplemental discovery responses, made a supplemental production of

documents and plan on making an additional production in the coming days, and the Parties

continue to meet and confer regarding the same; (3) State Farm has served Requests for Admission

to Plaintiffs, to which Plaintiffs have responded; (4) State Farm has served a supplemental and

verified interrogatory response containing information regarding its rate file and technical

specifications and produced exemplar transactional data for multiple putative class members, and

the Parties continue to meet and confer regarding the same; (6) State Farm has produced additional

documents and plans on making an additional production in the coming days; and (7) State Farm

has produced several amended privilege logs to Plaintiffs, and the Parties have met and conferred

numerous times regarding the same.




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        6.      With respect to depositions, in order to achieve efficiencies and avoid

inconveniencing witnesses, the Parties have continued their attempt to resolve issues on written

discovery and document production in advance of depositions.               The pandemic has also

complicated the practice of depositions, especially where technical or historical information is

concerned. The parties continue to work collaboratively toward narrowing or resolving disputes

and scheduling depositions efficiently in the current climate. The Parties recently negotiated and

reached agreement on the terms of a remote-deposition protocol. Plaintiffs have also taken the

deposition of one State Farm employee, in addition to the 30(b)(6) witness already presented, and

the Parties recently confirmed a schedule for the taking of an additional five State Farm fact

witness depositions. State Farm has deposed Plaintiff John Baker McClanahan, the representative

of the estate of Melissa Buchanan, and the Parties are currently working to re-schedule the

deposition of Plaintiff Gettys Bryant Millwood.

        7.      Despite the Parties’ efforts to diligently pursue and complete discovery, given the

outstanding issues that the Parties still need to resolve, the remaining depositions to be taken, the

continued complications related to the pandemic, the voluminous discovery record, and the

complexity of issues the Parties anticipate addressing in their expert reports and class certification

briefing, in the Parties’ Joint Status Report filed on May 17, 2021 (Dkt. 95), they proposed a

modest amendment to the current case schedule.

        8.      On May 20, 2021, the Court held a hearing. During this hearing, the Court also

addressed the Parties’ proposed modifications to the case schedule and provided guidance to the

Parties on potential modifications of the schedule in light of the current status of discovery (Dkt.

99, at 38:20-40:6). The Court further directed the Parties to submit a joint proposed schedule

within fourteen (14) days of the hearing.



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        9.      Therefore, due to the significant discovery still to be completed despite the Parties’

diligent efforts and the complexity of issues to be addressed by the Parties’ experts and class

certification briefing, and based on the guidance provided by the Court during the May 20, 2021

hearing, the Parties jointly move for an extension of the deadlines for completing fact discovery,

expert discovery, and class certification briefing. Consistent with the Court’s direction that this

case should move forward expeditiously, the Parties’ proposed schedule would not extend the

deadline to submit dispositive motions or otherwise delay the trial of this case. As recommended

by the Court, the proposed schedule would extend fact discovery until July 30, 2021 and have class

certification briefing complete by mid-January.          Additionally, Plaintiffs have requested the

opportunity to present rebuttal experts. State Farm has agreed to the inclusion of deadlines for

Plaintiffs to present rebuttal experts, but reserves its right to seek leave to file a sur-rebuttal expert

report (and to modify the class certification briefing deadlines accordingly) and/or to move to

strike any improper rebuttal testimony in the event that Plaintiffs’ rebuttal expert report(s) exceeds

the permissible scope of rebuttal testimony. A proposed order with a revised schedule is attached

as Exhibit A, and a table comparing the current and proposed deadlines is attached as Exhibit B.

                                 Respectfully submitted this 4th day of June, 2021.




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